           Case 1:17-cv-00124-LLS Document 164 Filed 03/09/21 Page 1 of 2
L,                                                           •· USDC SD:\\;
                                                                DOCU'.\1El\T
     UNITED STATES DISTRICT COURT
                                                                EL F.C TRO~ICALLY FILED
     SOUTHERN DISTRICT OF NEW YORK
                                                                                  DO C :1:
     FEDERAL TRADE COMMISSION , ET AL                         .,                  DA I i. f_-I L_E_D_:   - J__,,
                                                                                                            / _f/...,..2-_ j_
                                             Plaintiffs ,

                           - against -
                                                                        17 Civ . 124            (LLS)
     QUINCY BIOSCIENCE HOLDING CO .,                   INC .,
                                                                                   ORDER
     ET . AL .,

                                             Defendants .


             My rulings on the objections made during the deposition of

     the FTC ' s 30(b)(6) designee are as follows 1 :

                •   pp.    10 - 27 : sustained                     •   pp.   54 - 57 : sustained

                •   p . 29 ,     line 10 :                         •   pp.   65 - 66 : overruled

                    overruled                                      •   p . 7 0 , 1 ine 8:

                •   pp . 33 - 36 : sustained                           overruled

                •   p . 38 ,     lines 3-4 ,    10 :               •   p . 72 ,    line 15 :

                    overruled                                          overruled

                •   p . 39 ,     lines 4 , 14 :                    •   p . 7 4 : overruled

                    overruled                                      •   p . 76 ,    line 13 :

                •   p.    43 ,   line 12 :                             overruled

                    overruled                                      •   p . 78,     line 5 :

                •   pp . 44 - 48 : overruled                           overruled

                •   pp . 49 - 51 : overruled                       •   p . 80 ,    line 5 :

                •   p . 52 : overruled                                 overruled




     1   Page numbers are those appearing on 0kt . 157 - 1 .
                                                       - 1-
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      Defendants '     request to compel plaintiff to provide another

30(b) (6) witness is denied . It does not appear that Ms . Rosso

was unprepared to testify or was intentionally evasive .

Defendants may serve additional interrogatories to discover any

outstanding information to which the Court previously found it

was entitled .

      So ordered .

Dated :       New York, New York
              March 9 , 2021


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                                                    Louis L. Stanton
                                                       U. S . D. J .




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